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  1                       UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
  2                             SOUTHERN DIVISION

  3    UNITED STATES OF AMERICA,

  4                            Plaintiff,

  5          -v-                          Case No. 12-20598

  6    MICHAEL WINANS, JR.,

  7                            Defendant./

  8                                PLEA HEARING
                               BEFORE HON. SEAN F. COX
  9                         United States District Judge
                                257 U.S. Courthouse
 10                        231 West Lafayette Boulevard
                              Detroit, Michigan 48226
 11
                          (Wednesday, October 3, 2012)
 12
       APPEARANCES:            ABED E. HAMMOUD, ESQUIRE
 13                            Appearing on behalf of the Government.

 14                            WILLIAM M. HATCHETT, ESQUIRE
                               Appearing on behalf of the Defendant.
 15
       COURT REPORTER:         MARIE METCALF, CVR, CM
 16                            Federal Official Court Reporter
                               257 U.S. Courthouse
 17                            231 W. Lafayette Boulevard
                               Detroit, Michigan 48226
 18                            metcalf_court@msn.com

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  1                      Detroit, Michigan

  2                      Wednesday, October 3, 2012

  3                      At about 3:16 p.m.

  4                                 *       *       *

  5                DEPUTY COURT CLERK:          The United States District Court

  6    for the Eastern District of Michigan is in session, the

  7    Honorable Sean Cox, presiding.            Please be seated.

  8                The Court calls case number 12-20598, United States

  9    of America versus Michael Winans, Jr.

 10                Counsel, your appearances for the record, please?

 11                MR. HAMMOUD:      Good afternoon, Your Honor.          Abed

 12    Hammoud on behalf of the United States.

 13                MR. HATCHETT:        William Hatchett on behalf of the

 14    defendant, Michael Winans, Your Honor.

 15                THE COURT:     Good afternoon, Mr. Hammoud and good

 16    afternoon, Mr. Hatchett.

 17                Mr. Hatchett, it's my understanding that your client

 18    wishes to plead guilty to Count One of the information with a

 19    Rule 11; is that correct?

 20                MR. HATCHETT:        That is correct, Your Honor.

 21                THE COURT:     Sir, could you come up and come to the

 22    podium, please?     And could you raise your right hand?

 23                Do you affirm the testimony you're about to give will

 24    be the truth, the whole truth and nothing but the truth?

 25                DEFENDANT WINANS:       Yes, Your Honor.




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  1                THE COURT:     I'm going to ask you some questions

  2    regarding the facts of the crime with which you're charged.

  3    You must tell the truth.        Any false answers can be used against

  4    you in a separate prosecution for perjury or false statement.

  5    Do you understand?

  6                DEFENDANT WINANS:       Yes, Your Honor.

  7                THE COURT:     Could you give me your full name, please?

  8                DEFENDANT WINANS:       Michael Winans, Jr.

  9                THE COURT:     And do you understand that you have a

 10    constitutional right to remain silent and not incriminate

 11    yourself?

 12                DEFENDANT WINANS:       Yes, Your Honor.

 13                THE COURT:     Do you want to give up that right now and

 14    plead guilty to Count One of the information?

 15                DEFENDANT WINANS:       Yes, Your Honor.

 16                THE COURT:     First, I'm going to ask some background

 17    questions to assure that you're competent to enter a plea at

 18    this time.    How old are you?

 19                DEFENDANT WINANS:       Thirty years old.

 20                THE COURT:     How far did you go in school?

 21                DEFENDANT WINANS:       Pardon me?

 22                THE COURT:     How far did you go in school?

 23                DEFENDANT WINANS:       Oh, I'm sorry.       Two years of

 24    college.

 25                THE COURT:     Okay.    And let me ask you this question.




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  1    Do you read, write and understand English?

  2                DEFENDANT WINANS:       Yes, Your Honor.

  3                THE COURT:     And are you now under the influence of

  4    any medication, drugs or alcoholic beverages?

  5                DEFENDANT WINANS:       No, Your Honor.

  6                THE COURT:     All right.      Mr. Hatchett, do you believe

  7    that your client is capable of entering a knowing plea?

  8                MR. HATCHETT:      Yes, I do, Your Honor.

  9                THE COURT:     Mr. Hammoud, do you have any position as

 10    to whether or not the defendant's competent to enter a plea at

 11    this time?

 12                MR. HAMMOUD:      I believe he's competent, Your Honor.

 13    Yes.

 14                THE COURT:     All right.      Do you have the information

 15    in front of you?

 16                DEFENDANT WINANS:       Yes.

 17                THE COURT:     Okay.    In Count One of the information,

 18    you're charged under 18 U.S.C. Section 1343, with wire fraud.

 19    It alleges that from approximately -- again, Count One alleges

 20    that from approximately October 2007 through September 2008 in

 21    the Eastern District of Michigan, southern division, that you

 22    devised, schemed to defraud and to obtain money or property by

 23    means of false and fraudulent material pretenses,

 24    representations and promises.          And in order to execute your

 25    scheme, you transmitted or caused to be transmitted writings,




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  1    signs, signals or pictures or sounds by means of wire in

  2    interstate or foreign commerce, at all times relevant -- again,

  3    this is all in the information, you operated the Winans

  4    Foundation Trust and represented that the trust was a company

  5    investing in crude oil bonds in Saudi Arabia.

  6                The information continues.             You initially recruited

  7    11 individuals whom you called shareholders in the trust to

  8    invest in the crude oil bonds.          You required the shareholders

  9    to solicit additional investors to incorporate businesses, to

 10    hold funds provided by the investors they solicited and to send

 11    investors' funds to the trust.          Victim investors resided in the

 12    states of Michigan, Arkansas, Georgia, amongst other places.

 13                As early as December 2007, you became aware that the

 14    Saudi Arabian crude oil bond did not exist as an investment

 15    vehicle, yet you did not disclose this fact to the existing

 16    investors, and with the intent to defraud, continued to solicit

 17    funds for the trust.

 18                Each individual victim of your scheme to defraud

 19    invested between 1,000 and 7,000 in Saudi Arabian crude oil

 20    bonds.    As a result, you obtained over $8 million from more

 21    than 1,000 victim investors, all of whom were led to believe

 22    that they were investing in Saudi oil -- excuse me, Saudi

 23    Arabian crude oil bonds that you knew -- that you well knew did

 24    not exist.

 25                You guaranteed the victim investors that the bonds




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  1    would yield returns of $1,000 to $8,000 within 60 days.                 You

  2    deposited the victim investors' funds into your own accounts.

  3    You falsely explained to the victim investors that their funds

  4    had to be deposited into your account because the Saudi Arabian

  5    crude oil bonds were not being publically traded.                You

  6    converted some of the victim investors' money to your own

  7    personal use.

  8                In addition, in classic Ponzi scheme fashion, you

  9    gave some of your later victims' money to your earlier victims

 10    and falsely represented to them that it was the return on their

 11    investments as you had promised.

 12                As part of this scheme to defraud, you also made

 13    fraudulent material representations of promises to victim

 14    investors who requested a return on their funds, lulling them

 15    with false expectations that their money was secure but

 16    temporarily unavailable.

 17                In executing your scheme to defraud, you made or

 18    caused to be made interstate wire transmissions, including, but

 19    not limited to the following:          You sent an email from Michigan

 20    to victim investors TH and JH in Texas which contained false

 21    and fraudulent material information as to the existence and

 22    validity of the Saudi Arabian crude oil bonds in order to

 23    induce them to invest.

 24                You also deposited into your own account at J.P.

 25    Morgan Chase Bank in Michigan, an official bank check for




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  1    $39,000 drawn on the Bank of America in San Antonio, Texas,

  2    which JH and -- sorry, which TH and JH had sent to you in

  3    response to your solicitation for investors.              In doing so, you

  4    caused Chase Bank in Michigan to send a signal by wire in

  5    interstate commerce to the Bank of America in Texas to

  6    facilitate the transfer of funds.

  7                This charge carries with it a term of incarceration

  8    of up to 20 years in prison, as well as a fine of up to

  9    $250,000.

 10                Mr. Hammoud, did I state the charge, as well as the

 11    sentencing consequences of the charge correctly?

 12                MR. HAMMOUD:      That's correct, Your Honor.          There's

 13    also a forfeiture allegation part of the information, as well.

 14                THE COURT:     Okay.    And, Mr. Hatchett, did I state the

 15    charge, as well as the sentencing consequences of the charge

 16    correctly?

 17                MR. HATCHETT:      Yes, Your Honor.

 18                THE COURT:     Mr. Winans, have you heard the charge

 19    that has been made against you?

 20                DEFENDANT WINANS:       Yes, Your Honor.

 21                THE COURT:     And have you discussed the charge, as

 22    well as sentencing consequences of this charge with your

 23    attorney, Mr. Hatchett?

 24                DEFENDANT WINANS:       Yes, Your Honor.

 25                THE COURT:     And has Mr. Hatchett answered each and




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  1    every question that you've had regarding the charge, as well as

  2    the sentencing consequences of the charge?

  3                DEFENDANT WINANS:       Yes.

  4                THE COURT:     Do you have any questions at all

  5    regarding the charge or the sentencing consequences of this

  6    charge?

  7                DEFENDANT WINANS:       No, Your Honor.

  8                THE COURT:     Okay.    Now, it's also my understanding

  9    that you have executed a Rule 11 Agreement, which has been

 10    marked as Exhibit One; is that correct?

 11                DEFENDANT WINANS:       Yes, Your Honor.

 12                THE COURT:     And do you have that document in front of

 13    you?

 14                DEFENDANT WINANS:       Yes.

 15                THE COURT:     Does your signature appear on that

 16    document?

 17                DEFENDANT WINANS:       Yes, Your Honor.

 18                THE COURT:     At what page?

 19                DEFENDANT WINANS:       It's on page 16.

 20                THE COURT:     All right.      Before you signed that

 21    document, did you read the document, as well as the attached

 22    worksheets?

 23                DEFENDANT WINANS:       Yes, Your Honor.

 24                THE COURT:     And before you signed that document, did

 25    you review and discuss the document as well as the attached




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   1    worksheets with Mr. Hatchett?

   2                DEFENDANT WINANS:      Yes, Your Honor.

   3                THE COURT:    Okay.    And before you signed that

   4    document, did Mr. Hatchett answer each and every question that

   5    you had regarding the Rule 11 Agreement, as well as the

   6    attached worksheets?

   7                DEFENDANT WINANS:      Yes, Your Honor.

   8                THE COURT:    And do you have any questions at all

   9    regarding anything contained in the Rule 11 Agreement, as well

  10    as the attached worksheets?

  11                DEFENDANT WINANS:      No, Your Honor.

  12                THE COURT:    And has Mr. Hatchett answered each and

  13    every question that you've had regarding your case?

  14                DEFENDANT WINANS:      Yes, Your Honor.

  15                THE COURT:    And are you satisfied with the advice and

  16    service that Mr. Hatchett has provided to you in your case?

  17                DEFENDANT WINANS:      Yes, Your Honor.

  18                THE COURT:    Do you understand that if your guilty

  19    plea is accepted, you will be deprived of valuable civil

  20    rights, the right to vote, hold office, serve on a jury,

  21    possess or be around firearms?

  22                DEFENDANT WINANS:      Yes, Your Honor.

  23                THE COURT:    Do you understand if I accept your plea

  24    of guilty, you give up many important constitutional rights?                   I

  25    will go over some of the most important to make sure you




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   1    understand what you're giving up.

   2                Do you understand you have the right to plead not

   3    guilty?

   4                DEFENDANT WINANS:      Yes, Your Honor.

   5                THE COURT:    Do you understand you have the right to a

   6    trial before the Court, which is me, the Judge, or a jury?                    Do

   7    you understand that?

   8                DEFENDANT WINANS:      Yes, Your Honor.

   9                THE COURT:    And do you understand at trial you're

  10    presumed to be innocent and the government would have to prove

  11    your guilt beyond a reasonable doubt?             Do you understand that?

  12                DEFENDANT WINANS:      Yes.

  13                THE COURT:    Do you understand you have the right to

  14    question the witnesses who appear against you, either you

  15    yourself or through your attorney?

  16                DEFENDANT WINANS:      Yes, Your Honor.

  17                THE COURT:    And do you understand you have the right

  18    to have this Court order any witnesses you have for your

  19    defense to appear at trial?        Do you understand that?

  20                DEFENDANT WINANS:      Yes, I do.

  21                THE COURT:    Do you understand that you have the right

  22    to remain silent during your trial and not have your silence

  23    used against you?

  24                DEFENDANT WINANS:      Yes, Your Honor.

  25                THE COURT:    Or to testify at your trial if you wish




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   1    to.   Do you understand that?

   2                DEFENDANT WINANS:      Yes, I do.

   3                THE COURT:    And again, understanding these rights, do

   4    you want to give them up and plead guilty to Count One of the

   5    information?

   6                DEFENDANT WINANS:      Yes, Your Honor.

   7                THE COURT:    Now, is your willingness to plead guilty

   8    the result of a Rule 11 Plea Agreement that came about after

   9    discussions between the government attorney, Mr. Hammoud, your

  10    attorney, Mr. Hatchett, and yourself?

  11                DEFENDANT WINANS:      Yes, Your Honor.

  12                THE COURT:    And again, do you have Exhibit One in

  13    front of you?

  14                DEFENDANT WINANS:      Yes.

  15                THE COURT:    And could you please turn to page two,

  16    paragraph c(1), under "factual basis for guilty plea"?                Do you

  17    see that paragraph?

  18                DEFENDANT WINANS:      Yes.

  19                THE COURT:    It reads,

  20                "From approximately October 2007 through September

  21                2008 in the Eastern District of Michigan, southern

  22                division, that you devised a scheme to defraud and

  23                to obtain money or property by means of false and

  24                fraudulent material pretenses, representations and

  25                promises.    And in order to execute your scheme,




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   1                you transmitted or caused to be transmitted

   2                writings, signs, signals, pictures or sounds by

   3                means of wire in interstate or foreign commerce,

   4                that all times relevant in the information, you

   5                operated the Winans Foundation Trust and

   6                represented that the trust was a company investing

   7                in crude oil bonds in Saudi Arabia.

   8                      You initially recruited 11 individuals whom

   9                you called shareholders in the trust, to invest in

  10                the crude oil bonds, you required the shareholders

  11                to solicit additional investors to incorporate

  12                businesses to hold the funds provided by the

  13                investors they solicited and to send the investors

  14                funds to the trust.       Victim investors resided in

  15                the states of Michigan, Arizona and Georgia,

  16                amongst other places.

  17                      As early as December 2007, you became aware

  18                that the Saudi Arabian crude oil bond did not

  19                exist as an investment vehicle, yet you did not

  20                disclose this fact to the existing investors, and

  21                with the intent to defraud, continued to solicit

  22                funds for the trust.

  23                      Each individual victim of your scheme to

  24                defraud invested between $1,000 and $7,000 in

  25                Saudi Arabian crude oil bonds.           As a result, you




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   1                obtained over $8 million from more than 1,000

   2                victim investors, all of whom were led to believe

   3                that they were investing in Saudi Arabian crude

   4                oil bonds that you well knew did not exist.               You

   5                guaranteed the victim investors that the bonds

   6                would return -- would yield returns of $1,000 to

   7                $8,000 within 60 days.

   8                       You deposited the victim investors' funds

   9                into your own bank accounts.            You falsely

  10                explained to the victim investors that their funds

  11                had to be deposited into your account because the

  12                Saudi Arabian crude oil bonds were not being

  13                publically traded.        You converted some of the

  14                victim investors' money into your own personal

  15                use.

  16                       In addition, in classic Ponzi scheme fashion,

  17                you gave some of your later money -- excuse me,

  18                some of the later victims' money to earlier

  19                victims and falsely represented to them that it

  20                was the return on their investments that you had

  21                promised.

  22                       As a result of your scheme to defraud, you

  23                also made fraudulent material representations or

  24                promises to victim investors who requested a

  25                return on their funds, lulling them with false




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   1                explanations that their money was secure, but

   2                temporarily unavailable.

   3                      In executing your scheme to defraud, you made

   4                or caused to be made interstate wire transactions,

   5                including, but not limited to the following:              You

   6                sent an email from Michigan to victim investors TH

   7                and JH in Texas which contained false and

   8                fraudulent material information as to the

   9                existence and ability of the Saudi Arabian crude

  10                oil bonds in order to induce them to invest.

  11                      You also deposited into your own account at

  12                J.P. Morgan Chase Bank in Michigan in -- a bank

  13                check for $39,000 drawn on the Bank of America in

  14                San Antonio, Texas, which TH and JH had sent you

  15                in response to your solicitation for investors.

  16                In doing so, you caused Chase Bank in Michigan to

  17                send a signal by wire in interstate commerce to

  18                Bank of America in Texas to facilitate the

  19                transfer of funds."

  20    Sir, did you hear what I just read to you?

  21                DEFENDANT WINANS:      Yes, Your Honor.

  22                THE COURT:    Was everything that I just read to you

  23    true and accurate?

  24                DEFENDANT WINANS:      Yes, Your Honor.

  25                THE COURT:    Now, we're now on page five.           Could you




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   1    drop down to paragraph 2(b) on page five, which is entitled

   2    "Agreed Guideline Range"?        Do you see that?

   3                DEFENDANT WINANS:      Yes.

   4                THE COURT:    Do you see in the second sentence where

   5    it reads your guideline range is 151 to 188 months in prison?

   6    Do you see that?

   7                DEFENDANT WINANS:      Yes.

   8                THE COURT:    Now, of course the guidelines are

   9    advisory.    However, has Mr. Hatchett explained to you the

  10    significance of guidelines in sentencing?

  11                DEFENDANT WINANS:      Yes, Your Honor.

  12                THE COURT:    Okay.    Now, could you please turn to page

  13    ten, paragraph two, which is entitled, "Government's Authority

  14    Regarding Substantial Assistance Determination?"               Do you see

  15    that paragraph?

  16                DEFENDANT WINANS:      Yes.

  17                THE COURT:    And then do you see the paragraph

  18    entitled, "Downward Departure," on the next page, page 11?

  19                DEFENDANT WINANS:      Yes, Your Honor.

  20                THE COURT:    Now, the government may bring a 5K motion

  21    at the time of sentencing, as I understand from reading the

  22    Rule 11 Agreement.

  23                Is that correct, Mr. Hammoud?

  24                MR. HAMMOUD:     There are other provisions, Your Honor,

  25    that -- previous to this paragraph, that provide for some sort




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   1    of cooperation.     If that cooperation takes place and if it

   2    brings fruition that falls within the definitions of the 5K, we

   3    may then consider that.       So at this point there is nothing

   4    there that leads me to believe there will be a 5K, but it's in

   5    there, the provision is in there.          If the facts and the

   6    developments warrant it, we will consider it.                 But I want to

   7    make sure the defendant understands it's totally our

   8    discussion.

   9                THE COURT:    Did you understand what Mr. Hammoud just

  10    said?

  11                DEFENDANT WINANS:      Yes, Your Honor.

  12                THE COURT:    And you've discussed it, the 5K motion,

  13    the downward departure, the issue of substantial assistance

  14    with Mr. Hatchett, before you signed the Rule 11?

  15                DEFENDANT WINANS:      Yes, Your Honor.

  16                THE COURT:    Okay.    Now, the government may or may not

  17    bring such a motion.      Do you understand that?

  18                DEFENDANT WINANS:      Yes.

  19                THE COURT:    Okay.    And it's up to the government to

  20    determine whether or not you have provided the government

  21    substantial assistance?

  22                DEFENDANT WINANS:      Yes.

  23                THE COURT:    Do you understand that?

  24                DEFENDANT WINANS:      Yes, Your Honor.

  25                THE COURT:    And do you understand that if the




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   1    government feels that you've provided substantial assistance,

   2    that you've cooperated, they may make a motion and they may

   3    make a recommendation regarding a certain departure from the

   4    guidelines or the mandatory -- there's no mandatory minimum,

   5    right?

   6                MR. HAMMOUD:     No, Your Honor.

   7                MR. HATCHETT:     No, Your Honor.

   8                THE COURT:    Okay.    So they might make a request for a

   9    departure from the bottom of the guidelines or the guidelines.

  10    Do you understand that?

  11                DEFENDANT WINANS:      Yes, Your Honor.

  12                THE COURT:    Okay.    And have you discussed that issue

  13    with Mr. Hatchett?

  14                DEFENDANT WINANS:      Yes, Your Honor.

  15                THE COURT:    Now, even if the government makes such a

  16    motion, I don't have to grant it.          Do you understand that?

  17                DEFENDANT WINANS:      Okay.

  18                THE COURT:    I'm under no obligation to grant it.

  19                DEFENDANT WINANS:      Right.     Okay, yes, Your Honor.

  20                THE COURT:    And the amount of any departure, if I

  21    decided that a departure was warranted, would be up to me; do

  22    you understand that?

  23                DEFENDANT WINANS:      Yes, Your Honor.

  24                THE COURT:    Mr. Hatchett, did you review that and

  25    discuss that issue with your client?




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    1               MR. HATCHETT:      Yes, I did, Your Honor.

    2               THE COURT:     Okay.    Mr. Winans, do you have any

    3    questions at all regarding what we just discussed or what I've

    4    just said?

    5               DEFENDANT WINANS:       No, Your Honor.

    6               THE COURT:     Okay.    Now, could you please turn to page

    7    13, paragraph seven, which is entitled, "Waiver of Appeal"?                    Do

    8    you see that paragraph?

    9               DEFENDANT WINANS:       Yes.

  10                THE COURT:     All right.      It reads,

  11                "Defendant, being you, waives any right he may

  12                have to appeal his conviction if the sentence

  13                imposed does not exceed the maximum allowed by

  14                part three of this agreement.

  15                      Defendant, being you, also waives any right

  16                he may have to appeal his sentence if the sentence

  17                imposed is within the guideline range as

  18                determined by paragraph 2(b).

  19                      The government agrees not to appeal the

  20                sentence, but retains its right to appeal any

  21                sentence below that range."

  22     Sir, did you hear what I just read to you?

  23                DEFENDANT WINANS:       Yes, Your Honor.

  24                THE COURT:     Any questions?

  25                DEFENDANT WINANS:       No, Your Honor.




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    1               THE COURT:     And again, do you have any questions at

    2    all regarding anything contained in the Rule 11 Agreement, as

    3    well the attached worksheets?

    4               DEFENDANT WINANS:       No, Your Honor.

    5               THE COURT:     All right.      Mr. Hatchett, is there

    6    anything that you wish to put on the record regarding the Rule

    7    11 provisions?

    8               MR. HATCHETT:      Yes, Your Honor.        I would like to voir

    9    dire my client just briefly with respect to the issue of wire

  10     fraud so he understands exactly what it entails.

  11                Mr. Winans, you understand that the charge that

  12     you're pleading guilty to is one of fraud, where you induced

  13     people to send you money by means of false representations; is

  14     that correct?

  15                DEFENDANT WINANS:       Yes.

  16                MR. HATCHETT:      And do you understand that under the

  17     terms and conditions of the Rule 11 Plea Agreement you

  18     acknowledge that you did receive these funds?

  19                DEFENDANT WINANS:       Yes.

  20                MR. HATCHETT:      I have no further questions, Your

  21     Honor.

  22                THE COURT:     Okay.    Mr. Hammoud, is there anything

  23     that you wish to put on the record regarding the Rule 11

  24     provisions?

  25                MR. HAMMOUD:      No, Your Honor.




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    1               THE COURT:     Okay.    Now, Mr. Winans, apart from what

    2    is contained in the Rule 11 Agreement, which we just reviewed,

    3    have you been promised by this Court, which is me, the Judge,

    4    the attorney for the government, Mr. Hammoud, or your attorney,

    5    Mr. Hatchett, that you will be placed on probation or receive

    6    any specific sentence in return for pleading guilty to Count

    7    One of the information?

    8               DEFENDANT WINANS:       Could you repeat that?           I'm sorry.

    9               THE COURT:     Sure.    Apart from what is contained in

  10     the Rule 11 Agreement, which we just reviewed, have you been

  11     promised by the Court, which is me, the Judge, or the attorney

  12     for the government, Mr. Hammoud, or your attorney, Mr.

  13     Hatchett, that you will be placed on probation or receive any

  14     specific sentence in return for pleading guilty to Count One?

  15                DEFENDANT WINANS:       No, Your Honor.

  16                THE COURT:     Are you now -- Mr. Hammoud, do you --

  17                MR. HAMMOUD:      I'm sorry, Your Honor.            When the Court

  18     gave me a chance to talk about the Rule 11, I forgot to mention

  19     page seven does have the restitution agreement that would be

  20     ordered by the Court after it's been determined.                It's right

  21     now not determined, per se, but it's going to be in the range

  22     that we talked about, the losses, and we're going to provide

  23     the Court and probation with as much information as we can to

  24     determine, but the defendant has to understand he has to pay --

  25     and he will have a chance to look at what we're proposing to




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    1    the Court.

    2               THE COURT:     Sir, you understand you're going to have

    3    to pay restitution to the victims?

    4               DEFENDANT WINANS:       Yes, Your Honor.

    5               THE COURT:     Is that agreeable to you?

    6               DEFENDANT WINANS:       Yes, Your Honor.

    7               THE COURT:     All right.

    8               MR. HATCHETT:      Your Honor, may we have just a

    9    conference at sidebar, just one issue we discussed in chambers?

  10                THE COURT:     Sure.

  11                      (Sidebar conference held off the record)

  12                THE COURT:     Okay.    Mr. Winans, are you now on

  13     probation or parole in another matter?

  14                DEFENDANT WINANS:       No, Your Honor.

  15                THE COURT:     Has anyone tried to force you to plead

  16     guilty to Count One by any mistreatment or pressure?

  17                DEFENDANT WINANS:       No, Your Honor.

  18                THE COURT:     Are you pleading guilty freely and

  19     voluntarily to Count One because you are guilty and it is your

  20     choice to plead guilty to Count One?

  21                DEFENDANT WINANS:       Yes, Your Honor.

  22                THE COURT:     Mr. Winans, could you tell me what it is

  23     that you did which makes you believe you're guilty under Count

  24     One of wire fraud?

  25                DEFENDANT WINANS:       Made false representations that




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    1    caused others to send me wires, wire money.

    2                THE COURT:    Okay.    From apparently October 2007

    3    through September 2008, you engaged in certain conduct?

    4                DEFENDANT WINANS:      Pardon me?

    5                THE COURT:    You engaged in certain conduct, correct?

    6                DEFENDANT WINANS:      Correct.

    7                THE COURT:    Okay.    Tell me what you did.

    8                DEFENDANT WINANS:      I was in -- I want to say in

    9    business with a gentleman by the name of Tim Hunt.                And Tim

  10     Hunt had an investment that he presented to me and told me

  11     that, you know, it was going to yield certain amounts of money

  12     and I could bring people into the investment.

  13                 And so I immediately did so.           Tim Hunt was someone

  14     that was a recommendation of a friend that I had had in years

  15     past.    I brought people into the investment under the notion

  16     that it was a Saudi Arabian crude oil bond.

  17                 THE COURT:    Okay.    Again, what was the investment?

  18                 DEFENDANT WINANS:      It was investing in crude oil

  19     bonds.

  20                 THE COURT:    Okay.

  21                 DEFENDANT WINANS:      So that was around middle to the

  22     end of October of 2007.

  23                 THE COURT:    Okay, continue.

  24                 DEFENDANT WINANS:      So I began to bring people into

  25     the investment.    And toward the end of December, I was told by




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    1    this Timothy Hunt that the investment was over.

    2                At that time there were monies that he had owed back

    3    to me to give to investors.        There was money that I had on hand

    4    for people who wanted to get into the investment.                And so, you

    5    know, I was in a sticky situation.          So I'm like, "Well, what do

    6    you mean that the investment is over?"

    7                He said, "It's over, you know, money has been lost

    8    and --" and so after that took place, I did not disclose to

    9    investors that the investment was over and so I began to try to

  10     find other ways --

  11                 THE COURT:    When you say, "the investment was over,"

  12     do you mean that this investment did not exist?

  13                 DEFENDANT WINANS:      Pardon me?

  14                 THE COURT:    When you say, "the investment was over,"

  15     do you mean to tell me that this investment in, as I understand

  16     crude oil bonds in Saudi Arabia, did not exist?

  17                 DEFENDANT WINANS:      I was made --

  18                 THE COURT:    There was no such -- that you were

  19     advised that there was no such investment?

  20                 DEFENDANT WINANS:      I was advised that the investment

  21     was over.

  22                 MR. HATCHETT:     May we have just one second, Your

  23     Honor?

  24                 THE COURT:    Sure, okay.

  25                      (Discussion off record)




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    1               DEFENDANT WINANS:       I was aware that the investment

    2    was not a real investment and I continued to take funds.

    3               THE COURT:     Okay.    Did you make certain statements to

    4    investors subsequently?

    5               DEFENDANT WINANS:       Yes, I did.

    6               THE COURT:     Okay.    And what statements did you make

    7    to investors subsequent to the time that you found out that

    8    this was not a real investment?

    9               DEFENDANT WINANS:       I did not tell them that it was

  10     not a real investment.       I just continued to receive funds under

  11     the prior notion that it was a solid investment, a real

  12     investment.

  13                THE COURT:     Well, were there additional investors

  14     after you were advised --

  15                DEFENDANT WINANS:       Yes.

  16                THE COURT:     -- that this investment did not exist?

  17                DEFENDANT WINANS:       Yes, Your Honor.        Yes.

  18                THE COURT:     Okay.    And did you make certain

  19     materially false or fraudulent statements to these individuals

  20     or representations?

  21                DEFENDANT WINANS:       Yes, Your Honor.

  22                THE COURT:     And what did you say?

  23                DEFENDANT WINANS:       That that was an investment --

  24     that this investment still did exist and that they could

  25     participate in the investment.




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    1               THE COURT:     And did you know that the statements you

    2    were making were not true?

    3               DEFENDANT WINANS:       I did, yes.

    4               THE COURT:     And when you made these statements did

    5    you intend to deceive or cheat these investors?

    6               DEFENDANT WINANS:       It wasn't my intention to do so,

    7    but in not telling the truth and covering up, yes, I did.

    8               THE COURT:     So was it your intent -- so did you

    9    knowingly deceive these investors?

  10                DEFENDANT WINANS:       Yes.

  11                THE COURT:     And did you tell them that this was a

  12     viable investment when you knew that it did not exist?

  13                DEFENDANT WINANS:       Yes, Your Honor.

  14                THE COURT:     And how did you communicate with these

  15     investors, these investors that you told that there was a

  16     viable investment that you knew did, in fact, not exist?                 How

  17     did you communicate with these individuals?

  18                DEFENDANT WINANS:       You mean, like in what way or what

  19     did I say?

  20                THE COURT:     Well, how did you communicate?

  21                DEFENDANT WINANS:       It was through the shareholders

  22     that were a part of the investment.

  23                THE COURT:     Well, did you use a certain means of

  24     communication that involved certain interstate communication?

  25                DEFENDANT WINANS:       Wire transfers, yes.




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    1               THE COURT:     Okay.    So you used wire transfers.           Tell

    2    me about that, tell me about these wire transfers.

    3               DEFENDANT WINANS:       There were some investors who

    4    wired money, and other monies that were wired to them as well.

    5               THE COURT:     Okay.    And were there monies that were

    6    wired to you from other states?

    7               DEFENDANT WINANS:       Yes, Your Honor.

    8               THE COURT:     And when you made these statements to

    9    individuals regarding this investment in Saudi crude bonds,

  10     crude oil bonds that you knew did not exist, where were you

  11     located?

  12                DEFENDANT WINANS:       In Michigan.

  13                THE COURT:     In what part of Michigan?

  14                DEFENDANT WINANS:       In West Bloomfield, Michigan.

  15                THE COURT:     Okay.    And were these investors located

  16     outside the State of Michigan?

  17                DEFENDANT WINANS:       There were some that were.

  18                THE COURT:     Okay.    In fact one in Texas?          Is that

  19     what I understand from what you told me earlier?

  20                DEFENDANT WINANS:       Yes.

  21                THE COURT:     Mr. Hammoud, are you satisfied with the

  22     factual basis as to Count One of the information?

  23                MR. HAMMOUD:      Yes, Your Honor, we're satisfied.

  24                THE COURT:     Mr. Hatchett, are you satisfied with the

  25     factual basis as to Count One of the information?




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    1               MR. HATCHETT:      Yes, Your Honor.

    2               THE COURT:     Now, again, Mr. Winans, is it your

    3    decision, your choice, to plead guilty to Count One?

    4               DEFENDANT WINANS:       Yes, Your Honor.

    5               THE COURT:     Is this what you want to do?

    6               DEFENDANT WINANS:       Yes, Your Honor.

    7               THE COURT:     The Court finds that Mr. Winans' plea has

    8    been made knowingly, freely and voluntarily and the elements of

    9    the offense of wire fraud under Count One of the information

  10     has been made out by statements here in open court.

  11                The guilty plea is accepted.            The Rule 11 is taken

  12     under advisement and we'll give him a sentence date of?

  13                DEPUTY COURT CLERK:        His sentencing date is February

  14     27th at two p.m.

  15                THE COURT:     Okay.    Any other issues, Mr. Hammoud?

  16                MR. HAMMOUD:      Your Honor, earlier today the defendant

  17     was arraigned downstairs and placed on personal bond.                 And he's

  18     allowed to be supervised in the State of Maryland.                I would ask

  19     the Court if it's possible, considering the extent of the

  20     guidelines the defendant is facing the potential of several

  21     years in prison and that's his first felony that we know of,

  22     and that he's new, to so speak, to the felony world and to the

  23     prison world, potentially, if the Court may order as a

  24     condition of that bond, additionally, a psychological

  25     evaluation to ensure his well-being while he's awaiting his




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    1    sentence, that everything is fine?

    2               THE COURT:     Mr. Hatchett, any objection?

    3               MR. HATCHETT:        I have no objection, Your Honor.

    4               THE COURT:     All right.      I will order that.

    5               MR. HATCHETT:        Very well.

    6               THE COURT:     Okay.    Any other issues, Mr. Hatchett?

    7               MR. HATCHETT:        None at this time, Your Honor.

    8               THE COURT:     Mr. Hammoud?

    9               MR. HAMMOUD:      Nothing, Your Honor.

  10                THE COURT:     All right, thank you.

  11                MR. HAMMOUD:      Thank you.

  12                DEPUTY COURT CLERK:          All rise.

  13                      (Court in recess at 3:47 p.m.)

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  15                         C E R T I F I C A T I O N

  16                I, Marie J. Metcalf, Official Court Reporter for the

  17     United States District Court, Eastern District of Michigan,

  18     Southern Division, appointed pursuant to the provisions of

  19     Title 28, United States Code, Section 753, do hereby certify

  20     that the foregoing is a correct transcript of the proceedings

  21     in the above-entitled cause on the date hereinbefore set forth.

  22                I do further certify that the foregoing transcript

  23     has been prepared by me or under my direction.

  24     s\Marie J. Metcalf                                  04-29-13

  25     Marie J. Metcalf, CVR, CM                            (Date)




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